                Case 8:18-bk-14112-ES                      Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                      Desc
                                                            Main Document Page 1 of 83
Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Joseph                                                           Maria
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        John
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Munoz                                                            Munoz
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                       Maria De Jesus Munoz
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2302                                                      xxx-xx-3347
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
                Case 8:18-bk-14112-ES                   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                     Desc
                                                         Main Document Page 2 of 83
Debtor 1   Joseph John Munoz
Debtor 2   Maria Munoz                                                                                Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 18541 Valley Drive
                                 Villa Park, CA 92861
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Orange
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
               Case 8:18-bk-14112-ES                      Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                     Desc
                                                           Main Document Page 3 of 83
Debtor 1    Joseph John Munoz
Debtor 2    Maria Munoz                                                                                   Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          Central District of
                                              District    California                    When     4/03/14                Case number      8:14-bk-12077-ES
                                                          Central District of
                                              District    California                    When     4/03/14                Case number      8:14-bk-12082-ES
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                Case 8:18-bk-14112-ES                   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                     Desc
                                                         Main Document Page 4 of 83
Debtor 1    Joseph John Munoz
Debtor 2    Maria Munoz                                                                                    Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                Case 8:18-bk-14112-ES                     Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                   Desc
                                                           Main Document Page 5 of 83
Debtor 1    Joseph John Munoz
Debtor 2    Maria Munoz                                                                                Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
Case 8:18-bk-14112-ES        Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32              Desc
                              Main Document Page 6 of 83




                                               Certificate Number: 00134-CAC-CC-031721432


                                                              00134-CAC-CC-031721432




                    CERTIFICATE OF COUNSELING

I CERTIFY that on October 5, 2018, at 4:23 o'clock PM PDT, Joseph Munoz
received from Cricket Debt Counseling, an agency approved pursuant to 11
U.S.C. § 111 to provide credit counseling in the Central District of California, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   October 5, 2018                        By:      /s/Angelica Caccavo


                                               Name: Angelica Caccavo


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
Case 8:18-bk-14112-ES        Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32              Desc
                              Main Document Page 7 of 83




                                               Certificate Number: 00134-CAC-CC-031721456


                                                              00134-CAC-CC-031721456




                    CERTIFICATE OF COUNSELING

I CERTIFY that on October 5, 2018, at 4:29 o'clock PM PDT, Maria Munoz
received from Cricket Debt Counseling, an agency approved pursuant to 11
U.S.C. § 111 to provide credit counseling in the Central District of California, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   October 5, 2018                        By:      /s/Stephanie Brown


                                               Name: Stephanie Brown


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                         Main Document Page 8 of 83
               Case 8:18-bk-14112-ES                       Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                   Desc
                                                            Main Document Page 9 of 83
Debtor 1   Joseph John Munoz
Debtor 2   Maria Munoz                                                                                    Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Louis J. Esbin                                                 Date         November 7, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Louis J. Esbin 119705
                                Printed name

                                Law Offices of Louis J. Esbin
                                Firm name

                                27451 Tourney Road, Suite 120
                                Valencia, CA 91355
                                Number, Street, City, State & ZIP Code

                                Contact phone     661-254-5050                               Email address         Esbinlaw@sbcglobal.net
                                119705 CA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 10 of 83
                 Case 8:18-bk-14112-ES                              Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                                       Desc
                                                                    Main Document Page 11 of 83
 Fill in this information to identify your case:

 Debtor 1                   Joseph John Munoz
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Maria Munoz
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,800,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             265,367.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          2,065,367.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          3,413,153.69

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $          1,571,396.70

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             723,359.40


                                                                                                                                     Your total liabilities $             5,707,909.79


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,862.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              10,741.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                          Desc
                                                               Main Document Page 12 of 83
 Debtor 1      Joseph John Munoz
 Debtor 2      Maria Munoz                                                                Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $       1,571,396.70

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            69,102.75

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $          1,640,499.45




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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                 Case 8:18-bk-14112-ES                                    Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                         Desc
                                                                          Main Document Page 13 of 83
 Fill in this information to identify your case and this filing:

 Debtor 1                    Joseph John Munoz
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Maria Munoz
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        18541 Valley Dr.                                                               Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Villa Park                        CA        92861                              Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                            $1,800,000.00               $1,800,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
                                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Residence: Home is scheduled to be auctioned November 2018. In foreclosure.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                    $1,800,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                               Desc
                                                               Main Document Page 14 of 83
 Debtor 1        Joseph John Munoz
 Debtor 2        Maria Munoz                                                                                        Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Subaru                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Legacy                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2008                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                120,000                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $2,500.00                  $2,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $2,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Living, dining and bedroom sets, TC and VCR, microwave, fridge,
                                    washer & dryer                                                                                                                  $1,905.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TV, computers, cell phones                                                                                                        $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....



Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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               Case 8:18-bk-14112-ES                                          Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                 Desc
                                                                              Main Document Page 15 of 83
 Debtor 1          Joseph John Munoz
 Debtor 2          Maria Munoz                                                                                                Case number (if known)

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Man's and woman's wardrobes                                                                                               $150.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Watches, wedding bands and costume jewelry                                                                                $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $2,755.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking Account                        Wells Fargo 0542                                                    $100.00



                                              17.2.       Savings Account                         Wells Fargo 9702                                                      $12.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:


Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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               Case 8:18-bk-14112-ES                           Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                   Desc
                                                               Main Document Page 16 of 83
 Debtor 1         Joseph John Munoz
 Debtor 2         Maria Munoz                                                                                 Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


Official Form 106A/B                                                   Schedule A/B: Property                                                                page 4
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               Case 8:18-bk-14112-ES                                Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                                   Desc
                                                                    Main Document Page 17 of 83
 Debtor 1        Joseph John Munoz
 Debtor 2        Maria Munoz                                                                                                     Case number (if known)

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                              Surrender or refund
                                                                                                                                                                value:

                                             State Farm Life Insurance - whole life:
                                             Joseph J. Munoz                                                          Maria De Jesus Munoz                                  $5,000.00


                                             State Farm Life Insurance - whole life:
                                             Maria De Jesus Munoz                                                     Joseph J. Munoz                                       $5,000.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................          $10,112.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                               Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

38. Accounts receivable or commissions you already earned
        No
        Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
        No

Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 5
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               Case 8:18-bk-14112-ES                                Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                             Desc
                                                                    Main Document Page 18 of 83
 Debtor 1        Joseph John Munoz
 Debtor 2        Maria Munoz                                                                                                     Case number (if known)

        Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
        No
        Yes. Describe.....


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                 % of ownership:


                                             Munoz Healthcare, Inc.
                                             Subject to statutory liens of the Internal Revenue
                                             Service and the California Franchise Tax Board                                               100            %            Unknown


                                             Joseph J. Munoz, MD, Inc.
                                             Subject to statutory liens of the Internal Revenue
                                             Service and the California Franchise Tax Board
                                             Real Property owned is a Medical Condominium
                                             subject to secured lien of Opus Bank and judicial
                                             lien
                                             Reorganized Debtor under confirmed Chapter 11
                                             Plan (Case No. 8:14-bk-12082-ES).                                                             10            %       $250,000.00


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....


44. Any business-related property you did not already list
        No
        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................   $250,000.00

 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                           Schedule A/B: Property                                                                      page 6
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               Case 8:18-bk-14112-ES                                    Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                                Desc
                                                                        Main Document Page 19 of 83
 Debtor 1         Joseph John Munoz
 Debtor 2         Maria Munoz                                                                                                           Case number (if known)


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $1,800,000.00
 56. Part 2: Total vehicles, line 5                                                                           $2,500.00
 57. Part 3: Total personal and household items, line 15                                                      $2,755.00
 58. Part 4: Total financial assets, line 36                                                                 $10,112.00
 59. Part 5: Total business-related property, line 45                                                       $250,000.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $265,367.00               Copy personal property total        $265,367.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $2,065,367.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 7
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                 Case 8:18-bk-14112-ES                         Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                    Desc
                                                               Main Document Page 20 of 83
 Fill in this information to identify your case:

 Debtor 1                Joseph John Munoz
                         First Name                         Middle Name                 Last Name

 Debtor 2                Maria Munoz
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2008 Subaru Legacy 120,000 miles                                $2,500.00                                  $2,500.00     C.C.P. § 703.140(b)(2)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Living, dining and bedroom sets, TC                             $1,905.00                                  $1,905.00     C.C.P. § 703.140(b)(3)
      and VCR, microwave, fridge, washer &
      dryer                                                                                100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                          any applicable statutory limit

      TV, computers, cell phones                                          $200.00                                  $200.00     C.C.P. § 703.140(b)(3)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Man's and woman's wardrobes                                         $150.00                                  $150.00     C.C.P. § 703.140(b)(3)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Watches, wedding bands and costume                                  $500.00                                  $500.00     C.C.P. § 703.140(b)(4)
      jewelry
      Line from Schedule A/B: 12.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                       Desc
                                                               Main Document Page 21 of 83
 Debtor 1    Joseph John Munoz
 Debtor 2    Maria Munoz                                                                                 Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking Account: Wells Fargo 0542                                  $100.00                                   $100.00        C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings Account: Wells Fargo 9702                                    $12.00                                    $12.00        C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     State Farm Life Insurance - whole life:                           $5,000.00                                 $5,000.00        C.C.P. § 703.140(b)(7)
     Joseph J. Munoz
     Beneficiary: Maria De Jesus Munoz                                                     100% of fair market value, up to
     Line from Schedule A/B: 31.1                                                          any applicable statutory limit

     State Farm Life Insurance - whole life:                           $5,000.00                                 $5,000.00        C.C.P. § 703.140(b)(7)
     Maria De Jesus Munoz
     Beneficiary: Joseph J. Munoz                                                          100% of fair market value, up to
     Line from Schedule A/B: 31.2                                                          any applicable statutory limit

     Joseph J. Munoz, MD, Inc.                                       $250,000.00                               $25,000.00         C.C.P. § 703.140(b)(5)
     Subject to statutory liens of the Internal
     Revenue Service and the California                                                    100% of fair market value, up to
     Franchise Tax Board                                                                   any applicable statutory limit
     Real Property owned is a Medical
     Condominium subject to secured lien of
     Opus Bank and judicial lien
     Reorganized Debtor under conf
     Line from Schedule A/B: 42.2


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                 Case 8:18-bk-14112-ES                         Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                            Desc
                                                               Main Document Page 22 of 83
 Fill in this information to identify your case:

 Debtor 1                   Joseph John Munoz
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Maria Munoz
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Car Max Auto Finance                     Describe the property that secures the claim:                 $10,054.00                 $2,500.00           $7,554.00
         Creditor's Name                          2008 Subaru Legacy 120,000 miles

                                                  As of the date you file, the claim is: Check all that
         1930 Olney Avenue                        apply.
         Cherry Hill, NJ 08003                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.2     Citi Mortgage                            Describe the property that secures the claim:             $1,357,215.00            $1,800,000.00                      $0.00
         Creditor's Name                          18541 Valley Dr. Villa Park, CA 92861
                                                  Residence: Home is scheduled to be
                                                  auctioned November 2018. In
                                                  foreclosure.
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 6243                            apply.
         Sioux Falls, SD 57117                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Deed of Trust - First
       community debt

 Date debt was incurred          08/2002                   Last 4 digits of account number        0430

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 9
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               Case 8:18-bk-14112-ES                             Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                        Desc
                                                                 Main Document Page 23 of 83
 Debtor 1 Joseph John Munoz                                                                                   Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Maria Munoz
               First Name                  Middle Name                      Last Name




 2.3     Daniel O'Keefe                             Describe the property that secures the claim:                   $200,000.00        $1,800,000.00     $200,000.00
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
                                                    auctioned November 2018. In
         3737 East Rolling Green                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Lane                                       apply.
         Orange, CA 92867                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust - Third
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Franchise Tax Board Chief
 2.4                                                                                                                   $1,532.80       $1,800,000.00        $1,532.80
         Counsel                                    Describe the property that secures the claim:
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
         c/o General Counsel                        Residence: Home is scheduled to be
         Section                                    auctioned November 2018. In
         P.O. Box 1720, MS A-260                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Rancho Cordova, CA                         apply.
         95741-1720                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          06/08/2009                  Last 4 digits of account number         2302

         Franchise Tax Board Chief
 2.5                                                                                                                 $24,395.55        $1,800,000.00      $24,395.55
         Counsel                                    Describe the property that secures the claim:
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
         c/o General Counsel                        Residence: Home is scheduled to be
         Section                                    auctioned November 2018. In
         P.O. Box 1720, MS A-260                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Rancho Cordova, CA                         apply.
         95741-1720                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 9
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               Case 8:18-bk-14112-ES                             Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                        Desc
                                                                 Main Document Page 24 of 83
 Debtor 1 Joseph John Munoz                                                                                   Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Maria Munoz
               First Name                  Middle Name                      Last Name


    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          11/25/2009                  Last 4 digits of account number         2302

         Franchise Tax Board Chief
 2.6                                                                                                                 $24,142.84        $1,800,000.00      $24,142.84
         Counsel                                    Describe the property that secures the claim:
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
         c/o General Counsel                        Residence: Home is scheduled to be
         Section                                    auctioned November 2018. In
         P.O. Box 1720, MS A-260                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Rancho Cordova, CA                         apply.
         95741-1720                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          10/18/2010                  Last 4 digits of account number         2302

         Franchise Tax Board Chief
 2.7                                                                                                                 $22,938.59        $1,800,000.00      $22,938.59
         Counsel                                    Describe the property that secures the claim:
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
         c/o General Counsel                        Residence: Home is scheduled to be
         Section                                    auctioned November 2018. In
         P.O. Box 1720, MS A-260                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Rancho Cordova, CA                         apply.
         95741-1720                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          10/18/2010                  Last 4 digits of account number         2302

         Franchise Tax Board Chief
 2.8                                                                                                                $196,844.55        $1,800,000.00     $196,844.55
         Counsel                                    Describe the property that secures the claim:
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
         c/o General Counsel                        Residence: Home is scheduled to be
         Section                                    auctioned November 2018. In
         P.O. Box 1720, MS A-260                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Rancho Cordova, CA                         apply.
         95741-1720                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 9
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               Case 8:18-bk-14112-ES                             Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                        Desc
                                                                 Main Document Page 25 of 83
 Debtor 1 Joseph John Munoz                                                                                   Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Maria Munoz
               First Name                  Middle Name                      Last Name


                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          02/26/2013                  Last 4 digits of account number         2302

         Franchise Tax Board Chief
 2.9                                                                                                                 $26,560.47        $1,800,000.00      $26,560.47
         Counsel                                    Describe the property that secures the claim:
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
         c/o General Counsel                        Residence: Home is scheduled to be
         Section                                    auctioned November 2018. In
         P.O. Box 1720, MS A-260                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Rancho Cordova, CA                         apply.
         95741-1720                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          06/17/2013                  Last 4 digits of account number         2302

 2.1     Franchise Tax Board Chief
 0       Counsel                                    Describe the property that secures the claim:                      $8,626.53       $1,800,000.00        $8,626.53
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
         c/o General Counsel                        Residence: Home is scheduled to be
         Section                                    auctioned November 2018. In
         P.O. Box 1720, MS A-260                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Rancho Cordova, CA                         apply.
         95741-1720                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          07/12/2016                  Last 4 digits of account number         2302

 2.1
 1       Internal Revenue Service                   Describe the property that secures the claim:                   $151,609.81        $1,800,000.00     $151,609.81




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 9
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               Case 8:18-bk-14112-ES                             Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                        Desc
                                                                 Main Document Page 26 of 83
 Debtor 1 Joseph John Munoz                                                                                   Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Maria Munoz
               First Name                  Middle Name                      Last Name


         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
         Bankruptcies                               auctioned November 2018. In
         P.O. Box 7346                              foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Philadelphia, PA                           apply.
         19101-7346                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          04/29/2010                  Last 4 digits of account number         2302

 2.1
 2       Internal Revenue Service                   Describe the property that secures the claim:                   $313,936.70        $1,800,000.00     $313,936.70
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
         Bankruptcies                               auctioned November 2018. In
         P.O. Box 7346                              foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Philadelphia, PA                           apply.
         19101-7346                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          07/22/2011                  Last 4 digits of account number         2302

 2.1
 3       Internal Revenue Service                   Describe the property that secures the claim:                   $260,167.66        $1,800,000.00     $260,167.66
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
         Bankruptcies                               auctioned November 2018. In
         P.O. Box 7346                              foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Philadelphia, PA                           apply.
         19101-7346                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 5 of 9
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               Case 8:18-bk-14112-ES                             Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                        Desc
                                                                 Main Document Page 27 of 83
 Debtor 1 Joseph John Munoz                                                                                   Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Maria Munoz
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          11/16/2011                  Last 4 digits of account number         2302

 2.1
 4       Internal Revenue Service                   Describe the property that secures the claim:                    $24,354.56        $1,800,000.00      $24,354.56
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
         Bankruptcies                               auctioned November 2018. In
         P.O. Box 7346                              foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Philadelphia, PA                           apply.
         19101-7346                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          08/15/2012                  Last 4 digits of account number         2302

 2.1
 5       Internal Revenue Service                   Describe the property that secures the claim:                   $102,397.95        $1,800,000.00     $102,397.95
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
         Bankruptcies                               auctioned November 2018. In
         P.O. Box 7346                              foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Philadelphia, PA                           apply.
         19101-7346                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          10/25/2012                  Last 4 digits of account number         2302

 2.1
 6       Internal Revenue Service                   Describe the property that secures the claim:                    $64,918.94        $1,800,000.00      $64,918.94
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
         Bankruptcies                               auctioned November 2018. In
         P.O. Box 7346                              foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Philadelphia, PA                           apply.
         19101-7346                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 6 of 9
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               Case 8:18-bk-14112-ES                             Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                        Desc
                                                                 Main Document Page 28 of 83
 Debtor 1 Joseph John Munoz                                                                                   Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Maria Munoz
               First Name                  Middle Name                      Last Name


 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          04/18/2013                  Last 4 digits of account number         2302

 2.1
 7       Internal Revenue Service                   Describe the property that secures the claim:                    $60,622.00        $1,800,000.00      $60,622.00
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
         Bankruptcies                               auctioned November 2018. In
         P.O. Box 7346                              foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Philadelphia, PA                           apply.
         19101-7346                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          12/15/2015                  Last 4 digits of account number         2302

 2.1     Orange County Tax
 8       Collecter                                  Describe the property that secures the claim:                    $18,369.64        $1,800,000.00      $18,369.64
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
         625 N. Ross St, Bldg. 11,                  auctioned November 2018. In
         Rm. G58                                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Santa Ana, CA                              apply.
         92702-1438                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2011 - 2014                 Last 4 digits of account number         0800

 2.1     Orange County Tax
 9       Collecter                                  Describe the property that secures the claim:                    $11,384.77        $1,800,000.00      $11,384.77




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 7 of 9
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               Case 8:18-bk-14112-ES                             Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                        Desc
                                                                 Main Document Page 29 of 83
 Debtor 1 Joseph John Munoz                                                                                   Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Maria Munoz
               First Name                  Middle Name                      Last Name


         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
         625 N. Ross St, Bldg. 11,                  auctioned November 2018. In
         Rm. G58                                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Santa Ana, CA                              apply.
         92702-1438                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2018 - 2019                 Last 4 digits of account number         0800

 2.2
 0       Orange County Treasurer                    Describe the property that secures the claim:                    $22,769.54        $1,800,000.00      $22,769.54
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
         P.O. Box 1438                              auctioned November 2018. In
         625 N. Ross St, Bldg 1,                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
         Rm G58                                     apply.
         Santa Ana, CA 92702                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          12/10/2018                  Last 4 digits of account number         2208

 2.2
 1       Robert Hooks                               Describe the property that secures the claim:                   $500,000.00        $1,800,000.00      $57,215.00
         Creditor's Name                            18541 Valley Dr. Villa Park, CA 92861
                                                    Residence: Home is scheduled to be
                                                    auctioned November 2018. In
                                                    foreclosure.
                                                    As of the date you file, the claim is: Check all that
                                                    apply.
                                                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 8 of 9
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               Case 8:18-bk-14112-ES                             Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                                    Desc
                                                                 Main Document Page 30 of 83
 Debtor 1 Joseph John Munoz                                                                                   Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Maria Munoz
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust - Second
       community debt

 Date debt was incurred          11/21/2006                  Last 4 digits of account number


 2.2
 2       Santander Consumer                         Describe the property that secures the claim:                    $10,311.79                         $0.00         $10,311.79
         Creditor's Name                            2008 Subaru Lagacy

                                                    As of the date you file, the claim is: Check all that
         P.O. Box 96145                             apply.
         Fort Worth, TX 76161                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0816


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $3,413,153.69
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $3,413,153.69

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          CarMax
          P.O. Box 440609                                                                             Last 4 digits of account number
          Kennesaw, GA 30160

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.18
          County of Orange
          Attn. Ratna B. Butani, Bankr. Unit                                                          Last 4 digits of account number
          P.O. Box 4515
          Santa Ana, CA 92702-4515




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                      page 9 of 9
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                 Case 8:18-bk-14112-ES                         Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                                Desc
                                                               Main Document Page 31 of 83
 Fill in this information to identify your case:

 Debtor 1                     Joseph John Munoz
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Maria Munoz
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
 2.1          Calif. State Board of Equalization                     Last 4 digits of account number       0768                Unknown           Unknown               Unknown
              Priority Creditor's Name
              P.O. Box 942879                                        When was the debt incurred?           2010
              Sacramento, CA 94279-7070
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Domestic support obligations
              Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes
                                                                                         Sales taxes for Yenitza All Occasions - listed for
                                                                                         precautionary purposes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                    Desc
                                                               Main Document Page 32 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                      Case number (if known)

 2.2      Department Of The Treasury                                 Last 4 digits of account number     7754              $80,994.09    $0.00       $80,994.09
          Priority Creditor's Name
          Financial Management Service                               When was the debt incurred?
          P.O. Box 830794
          Birmingham, AL 35283-0794
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations
           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           Business debt for Joseph J. Munoz, MD, Inc.; listed
                                                                                         as precautionary

 2.3      EDD                                                        Last 4 digits of account number     7152                $1,961.00   $0.00         $1,961.00
          Priority Creditor's Name
          P.O. Box 826880 MIC4                                       When was the debt incurred?
          Sacramento, CA 94280-0001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations
           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           Business debt for Joseph J. Munoz, MD, Inc.; listed
                                                                                         as precautionary

                                                                                                                          $1,479,551.               $1,479,551.
 2.4      Internal Revenue Service                                   Last 4 digits of account number     7754                      63    $0.00              63
          Priority Creditor's Name
          Bankruptcies                                               When was the debt incurred?         2003 through 2012
          P.O. Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations
           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           Business debt for Joseph J. Munoz, MD, Inc.; listed
                                                                                         as precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 18
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               Case 8:18-bk-14112-ES                           Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                                     Desc
                                                               Main Document Page 33 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                      Case number (if known)

 2.5        Internal Revenue Service                                 Last 4 digits of account number     9985                $8,889.98              $8,889.98                    $0.00
            Priority Creditor's Name
            Bankruptcies                                             When was the debt incurred?         10/2010
            P.O. Box 7346
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

            No                                                          Other. Specify
            Yes                                                                            Business taxes for Yenitza All Occasions - listed for
                                                                                           precautionary purposes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        ADT Security Services                                      Last 4 digits of account number        9286                                                           $366.60
            Nonpriority Creditor's Name
            c/o Transworld Systems, Inc.                               When was the debt incurred?
            500 Virginia Drive, # 514
            Fort Washington, PA 19034
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only
                                                                           Contingent
                 Debtor 2 only
                                                                           Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify    Security services




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 3 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 34 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.2      American Express                                           Last 4 digits of account number       9198                                                $149.59
          Nonpriority Creditor's Name
          P.O. Box 53860 M/C 24-02-19                                When was the debt incurred?
          Anaheim, CA 92801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit card purchases
                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.3      Anaheim Public Utilities                                   Last 4 digits of account number       6269                                                $134.96
          Nonpriority Creditor's Name
          P.O. Box 3222                                              When was the debt incurred?
          Anaheim, CA 92803-3222
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.4      Anda Inc.                                                  Last 4 digits of account number       2535                                              $2,500.00
          Nonpriority Creditor's Name
          2915 Weston Road                                           When was the debt incurred?
          Fort Launderdale, FL 33331
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 35 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.5      AT&T                                                       Last 4 digits of account number       2462                                                $157.67
          Nonpriority Creditor's Name
          P.O. Box 5014                                              When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utility bill


 4.6      Atradius Managing Risk                                     Last 4 digits of account number                                                             $58.05
          Nonpriority Creditor's Name
          1200 Arlington Heights Ave.                                When was the debt incurred?
          Baltimore, MD 21202
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.7      Bank Of America                                            Last 4 digits of account number       2991                                              $7,007.63
          Nonpriority Creditor's Name
          Merchant Services                                          When was the debt incurred?
          4000 Coral Ridge Drive
          Coral Springs, FL 33065
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 36 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.8      Blue Shield and Kaiser                                     Last 4 digits of account number       3221                                              $1,012.65
          Nonpriority Creditor's Name
          P.O. Box                                                   When was the debt incurred?           08/2/2018
          Lodi, CA 95241-1912
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.9      Calwest Properties                                         Last 4 digits of account number       41A                                               $1,447.04
          Nonpriority Creditor's Name
          1700 Adams Ave., Ste 203                                   When was the debt incurred?
          Costa Mesa, CA 92626
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Homeowners Association fees.
                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.1
 0        Capital One                                                Last 4 digits of account number       4139                                              $2,044.09
          Nonpriority Creditor's Name
          P.O. Box 60599                                             When was the debt incurred?           07/2006
          City Of Industry, CA 91716
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 37 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.1
 1        CBeyond                                                    Last 4 digits of account number       5485                                                $984.20
          Nonpriority Creditor's Name
          File 50328                                                 When was the debt incurred?
          Los Angeles, CA 90074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.1
 2        City Of Anaheim                                            Last 4 digits of account number                                                           $178.34
          Nonpriority Creditor's Name
          201 South Anaheim Blvd.                                    When was the debt incurred?
          Anaheim, CA 92803-3069
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.1
 3        CTM Accountancy Corporation                                Last 4 digits of account number       2921                                                $178.34
          Nonpriority Creditor's Name
          5757 West Century Blvd., Ste. 620                          When was the debt incurred?
          Los Angeles, CA 90045
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 7 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 38 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.1
 4        Dana Knutson                                               Last 4 digits of account number                                                         $3,578.81
          Nonpriority Creditor's Name
          Knutson, Compton & Assoc.                                  When was the debt incurred?
          Law Offices Of Charles B. Carey
          1401 Dove Street, Ste. 340
          Newport Beach, CA 92708-2632
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Case # 30-201100478274
                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.1
 5        Dean R. Kitano Attorney At Law                             Last 4 digits of account number                                                         $3,900.00
          Nonpriority Creditor's Name
          2107 N. Broadway, Ste. 204                                 When was the debt incurred?
          Santa Ana, CA 92706-2632
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Case # 30-2012-00591727
                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 39 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.1
 6        Delta Billing Solutions                                    Last 4 digits of account number                                                           $686.18
          Nonpriority Creditor's Name
          4533 MacArthur Blvd., Ste. 319                             When was the debt incurred?
          Newport Beach, CA 92660
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.1
 7        Donald Saltikow CPA                                        Last 4 digits of account number                                                         $2,500.00
          Nonpriority Creditor's Name
          303 W. Katella Ave., Ste. 100                              When was the debt incurred?
          Anaheim, CA
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.1
 8        Electro Medical Instrumentation Cor                        Last 4 digits of account number       7738                                                $195.00
          Nonpriority Creditor's Name
          8475 Artesia Blvd., #104                                   When was the debt incurred?
          Buena Park, CA 90621
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 9 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 40 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.1
 9        Formshotline Healthcare                                    Last 4 digits of account number       O120                                                $231.80
          Nonpriority Creditor's Name
          1493 N. Montebello Blvd., Ste. 202                         When was the debt incurred?
          Montebello, CA 90640
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.2
 0        Henry Schein                                               Last 4 digits of account number       7754                                           $111,982.21
          Nonpriority Creditor's Name
          135 Duryea Road                                            When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice of Levy
                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.2
 1        Henry Schein                                               Last 4 digits of account number       7754                                              $7,800.00
          Nonpriority Creditor's Name
          135 Duryea Road                                            When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
                                                                                         listed as precautionary - subject to chapter 11
              Yes                                                       Other. Specify   plan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 10 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 41 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.2
 2        Kaiser Permanente                                          Last 4 digits of account number                                                         $2,595.23
          Nonpriority Creditor's Name
          PO Box 629024                                              When was the debt incurred?
          El Dorado Hills, CA 95762
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 3        MedVenue Solutions                                         Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          1601 Pacific Coast Hwy.                                    When was the debt incurred?
          # 290
          Hermosa Beach, CA 90254
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Billing Services - Business debt for Joseph J.
              Yes                                                       Other. Specify   Munoz, MD, Inc.; listed as precautionary


 4.2
 4        Mini                                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Deficiency balance owed re Mini Cooper -
              Yes                                                       Other. Specify   repossessed




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 11 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 42 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.2
 5        Novartis                                                   Last 4 digits of account number       0408                                              $1,854.87
          Nonpriority Creditor's Name
          4560 Horton Street                                         When was the debt incurred?
          Emeryville, CA 94608
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.2
 6        Optum                                                      Last 4 digits of account number       2863                                                  $98.18
          Nonpriority Creditor's Name
          P.O. Box 88050                                             When was the debt incurred?
          Chicago, IL 60680-1050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 7        Opus Bank                                                  Last 4 digits of account number       1832                                              $3,669.38
          Nonpriority Creditor's Name
          200 Commonwealth Avenue                                    When was the debt incurred?
          Fullerton, CA 92832
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 12 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 43 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.2
 8        Patricia A. Hayes                                          Last 4 digits of account number       6924                                              $7,842.18
          Nonpriority Creditor's Name
          Hollinslaw Attorneys Century Centre                        When was the debt incurred?
          2501 Main Street, Pent. Ste. 1300
          Irvine, CA 92614-4239
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
                                                                                         listed as precautionary - subject to chapter 11
              Yes                                                       Other. Specify   plan


 4.2
 9        Practrx                                                    Last 4 digits of account number       0242                                                  $25.10
          Nonpriority Creditor's Name
          A Division Of Anda Inc.                                    When was the debt incurred?
          2915 Weston Road
          Weston, FL 33331
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.3
 0        Precious Formals                                           Last 4 digits of account number                                                         $5,000.00
          Nonpriority Creditor's Name
          P.O. Box 1500                                              When was the debt incurred?
          League, TX 77574
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 13 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 44 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.3
 1        Quill                                                      Last 4 digits of account number       0846                                                $413.74
          Nonpriority Creditor's Name
          P.O. Box 37600                                             When was the debt incurred?
          Philadelphia, PA 19101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.3
 2        RIchard L. Seide. APC                                      Last 4 digits of account number                                                      $450,000.00
          Nonpriority Creditor's Name
          901 Dove St., Ste 120.                                     When was the debt incurred?
          Newport Beach, CA 92660
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         judgment for unpaid rent; case
                                                                                         30-2010-00428827 -
                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.3
 3        Smart Practice                                             Last 4 digits of account number       4616                                                  $96.75
          Nonpriority Creditor's Name
          P.O. Box 29222                                             When was the debt incurred?
          Phoenix, AZ 85038
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 14 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 45 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.3
 4        State Farm Payment Plan                                    Last 4 digits of account number       1723                                                $537.52
          Nonpriority Creditor's Name
          P.O. Box 2329                                              When was the debt incurred?
          Bloomington, IL 61702-2329
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.3
 5        The Computer Guys                                          Last 4 digits of account number       0639                                                  $39.00
          Nonpriority Creditor's Name
          1818 West Chapman Avenue, # D                              When was the debt incurred?
          Orange, CA 92868
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.3
 6        TV Guide                                                   Last 4 digits of account number                                                             $15.00
          Nonpriority Creditor's Name
          P.O. Box 37360                                             When was the debt incurred?
          Boone, IA 50099
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 15 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                           Desc
                                                               Main Document Page 46 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.3
 7        U.S. Department of Education                               Last 4 digits of account number                                                       $69,102.75
          Nonpriority Creditor's Name
          PO Box 530229                                              When was the debt incurred?
          Atlanta,, GA 30353-0229
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student loan under Maria Munoz
 4.3
 8        Valley Park Disposal #676                                  Last 4 digits of account number       1760                                                  $61.08
          Nonpriority Creditor's Name
          P.O. Box 78829                                             When was the debt incurred?
          Phoenix, AZ 85082
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary


 4.3
 9        Verizon Wireless                                           Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          P.O. Box 4003                                              When was the debt incurred?
          Acworth, GA 30101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 16 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                                  Desc
                                                               Main Document Page 47 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

 4.4
 0         Wells Fargo                                               Last 4 digits of account number       3661                                                   $34,915.46
           Nonpriority Creditor's Name
           P.O. Box 30086                                            When was the debt incurred?
           Los Angeles, CA 90030
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt for Joseph J. Munoz, MD, Inc.;
              Yes                                                       Other. Specify   listed as precautionary

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Great Lakes Edu Loan Serv.                                    Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO BOX 530229                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Internal Revenue Service                                      Line 2.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Ms. Van Winkle                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 801 Civic Center Drive W.
 Santa Ana, CA 92701-4048
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Internal Revenue Service                                      Line 2.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ACS Support - Stop 813G                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 145566
 Cincinnati, OH 45250-5566
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Martin Luther Med. Cntr. Assoc.                               Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o CalWest Properties                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 1700 Adams Avenue, Suite 203
 Costa Mesa, CA 92626-4865
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mckesson Medical Surgical, Inc                                Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mitchell B. Ludwig                                            Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Knapp, Petersen & Clarke                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 550 N. Brand Blvd., Ste. 1500
 Glendale, CA 91203-1948
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Passco Diversified Fund TVO LLC                               Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 17 of 18
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                                  Desc
                                                               Main Document Page 48 of 83
 Debtor 1 Joseph John Munoz
 Debtor 2 Maria Munoz                                                                                    Case number (if known)

                                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sanofi Pasteur Inc.                                           Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Dept. of Education                                         Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Loyola Marymount                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 7850
 Madison, WI 53707
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Bank NA                                           Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 29482                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 MAC 4101-08C
 Phoenix, AZ 85038-8650
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                1,571,396.70
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                1,571,396.70

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                    69,102.75
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  654,256.65

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  723,359.40




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 18 of 18
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                  Case 8:18-bk-14112-ES                          Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                Desc
                                                                 Main Document Page 49 of 83
 Fill in this information to identify your case:

 Debtor 1                  Joseph John Munoz
                           First Name                         Middle Name              Last Name

 Debtor 2                  Maria Munoz
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                 Case 8:18-bk-14112-ES                              Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                   Desc
                                                                    Main Document Page 50 of 83
 Fill in this information to identify your case:

 Debtor 1                   Joseph John Munoz
                            First Name                            Middle Name       Last Name

 Debtor 2                   Maria Munoz
 (Spouse if, filing)        First Name                            Middle Name       Last Name


 United States Bankruptcy Court for the:                 CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

    3.1                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




    3.2                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
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                Case 8:18-bk-14112-ES                 Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                  Desc
                                                      Main Document Page 51 of 83


Fill in this information to identify your case:

Debtor 1                      Joseph John Munoz

Debtor 2                      Maria Munoz
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00    $              0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00           $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
            Case 8:18-bk-14112-ES                  Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                          Desc
                                                   Main Document Page 52 of 83

Debtor 1    Joseph John Munoz
Debtor 2    Maria Munoz                                                                           Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $                 0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $                 0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $                 0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $                 0.00
      5e.   Insurance                                                                      5e.        $              0.00     $                 0.00
      5f.   Domestic support obligations                                                   5f.        $              0.00     $                 0.00
      5g.   Union dues                                                                     5g.        $              0.00     $                 0.00
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $                 0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                 0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                 0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                 0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                 0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $              0.00
      8d. Unemployment compensation                                                        8d.        $          0.00         $              0.00
      8e. Social Security                                                                  8e.        $      3,000.00         $            862.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                   0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                   0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                   0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          3,000.00         $            862.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,000.00 + $            862.00 = $           3,862.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                          12.    $          3,862.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                          page 2
           Case 8:18-bk-14112-ES                      Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                          Desc
                                                      Main Document Page 53 of 83


Fill in this information to identify your case:

Debtor 1                 Joseph John Munoz                                                                 Check if this is:
                                                                                                               An amended filing
Debtor 2                 Maria Munoz                                                                           A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             25                   Yes
                                                                                                                                             No
                                                                                   Daughter                             30                   Yes
                                                                                                                                             No
                                                                                   son                                  32                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            890.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
         Case 8:18-bk-14112-ES                         Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                              Desc
                                                       Main Document Page 54 of 83

Debtor 1     Joseph John Munoz
Debtor 2     Maria Munoz                                                                               Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                693.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                900.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                550.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,500.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               300.00
10.   Personal care products and services                                                    10. $                                                250.00
11.   Medical and dental expenses                                                            11. $                                              1,800.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 490.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  50.00
14.   Charitable contributions and religious donations                                       14. $                                                  50.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  950.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  518.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                         $                                             1,800.00
      Specify: Daughter                                                                      19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      10,741.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      10,741.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,862.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             10,741.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -6,879.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 55 of 83
                 Case 8:18-bk-14112-ES                         Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                     Desc
                                                               Main Document Page 56 of 83


 Fill in this information to identify your case:

 Debtor 1                  Joseph John Munoz
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Maria Munoz
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                            Dates Debtor 2
                                                                lived there                                                                    lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                     Desc
                                                               Main Document Page 57 of 83
 Debtor 1      Joseph John Munoz
 Debtor 2      Maria Munoz                                                                                 Case number (if known)


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Social Security                                           $27,000.00
 the date you filed for bankruptcy:

 For last calendar year:                           Social Security                              $32,000.00
 (January 1 to December 31, 2017 )

 For the calendar year before that:                Social Security                              $32,000.00
 (January 1 to December 31, 2016 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                      Desc
                                                               Main Document Page 58 of 83
 Debtor 1      Joseph John Munoz
 Debtor 2      Maria Munoz                                                                                 Case number (if known)


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened
       Citi Bank                                                Scheduled to be auctioned November 2018.                                                        $0.00
       18541 VALLEY DR.
       VILLA PARK, CA 92861                                          Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       IRS and Franchise Tax Board                              Year after year with in five years over                                                         $0.00
       NA                                                       $500,000.00 was garnished from our accounts
       NA, CA 90210                                             and business. Never was it applied.

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                   Desc
                                                               Main Document Page 59 of 83
 Debtor 1      Joseph John Munoz
 Debtor 2      Maria Munoz                                                                                 Case number (if known)


 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Law Offices of Louis J. Esbin                                 $10,000.00                                                                      $10,000.00
       25129 The Old Rd, Ste 114
       Stevenson Ranch, CA 91381-2273


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
                                                                                                                              made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
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               Case 8:18-bk-14112-ES                           Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                 Desc
                                                               Main Document Page 60 of 83
 Debtor 1      Joseph John Munoz
 Debtor 2      Maria Munoz                                                                                  Case number (if known)


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or        Date account was          Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                       Desc
                                                               Main Document Page 61 of 83
 Debtor 1      Joseph John Munoz
 Debtor 2      Maria Munoz                                                                                      Case number (if known)


      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                  Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Joseph J. Munoz M.D. Inc.                                Medical Practice                                     EIN:
       1741 W. Romneya Suite A
       Anaheim, CA 92801                                                                                             From-To


       Munoz Healthcare                                         Medical practice                                     EIN:
       1741 W. Romneya Suite A
       Anaheim, CA 92801                                                                                             From-To




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6
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Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 62 of 83
                 Case 8:18-bk-14112-ES                         Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                            Desc
                                                               Main Document Page 63 of 83

 Fill in this information to identify your case:

 Debtor 1                  Joseph John Munoz
                           First Name                       Middle Name              Last Name

 Debtor 2                  Maria Munoz
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Car Max Auto Finance                                 Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of        2008 Subaru Legacy 120,000                        Reaffirmation Agreement.
    property              miles                                             Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 64 of 83
              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                   Desc
                                                               Main Document Page 65 of 83

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                         Desc
                                                               Main Document Page 66 of 83


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                       Desc
                                                               Main Document Page 67 of 83
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                      Desc
                                                               Main Document Page 68 of 83
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                              Desc
                                                               Main Document Page 69 of 83
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Central District of California
             Joseph John Munoz
 In re       Maria Munoz                                                                                      Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.     $    700.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Unless otherwise agreed, the Initial Fee and Cost Retainer are for the purpose of representation in this Chapter 7 case
               limited to those matters set forth in the Agreement executed by the Debtor(s) in anticipation of filing. Unless otherwise
               agreed, services exclude, among other things, any adversary proceedings and contested matters, including without
               limitation responses to UST audits or inquiries or motions to dismiss. Unless further otherwise agreed, services do not
               include, among other things, representation of Debtor(s) for purposes of negotiating loan modification(s), reaffirmation
               agreements or redemption agreements, for which a separate fee will be payable prior to acceptance of retention for such
               purpose(s).
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 7, 2018                                                             /s/ Louis J. Esbin
     Date                                                                         Louis J. Esbin 119705
                                                                                  Signature of Attorney
                                                                                  Law Offices of Louis J. Esbin
                                                                                  27451 Tourney Road, Suite 120
                                                                                  Valencia, CA 91355
                                                                                  661-254-5050 Fax: 661-254-5252
                                                                                  Esbinlaw@sbcglobal.net
                                                                                  Name of law firm




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                 Case 8:18-bk-14112-ES                         Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                                         Desc
                                                               Main Document Page 70 of 83

 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Joseph John Munoz
 Debtor 2              Maria Munoz                                                                         1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Central District of California
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                             $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from a business, profession, or farm $                        Copy here -> $                           $
  6. Net income from rental and other real property
                                                                                     Debtor 1
        Gross receipts (before all deductions)                             $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from rental or other real property             $              Copy here -> $                           $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 71 of 83
              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                           Desc
                                                               Main Document Page 72 of 83

 Fill in this information to identify your case:

 Debtor 1            Joseph John Munoz

 Debtor 2           Maria Munoz
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Central District of California

 Case number                                                                                      Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                                                                                               If your exclusion period ends before your case is closed,
                         ending on                  , which is fewer than 540 days before I
                         file this bankruptcy case.                                            you may have to file an amended form later.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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              Case 8:18-bk-14112-ES                            Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32                           Desc
                                                               Main Document Page 73 of 83

 Fill in this information to identify your case:

 Debtor 1            Joseph John Munoz

 Debtor 2           Maria Munoz
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Central District of California

 Case number                                                                                      Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                                                                                               If your exclusion period ends before your case is closed,
                         ending on                  , which is fewer than 540 days before I
                         file this bankruptcy case.                                            you may have to file an amended form later.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 74 of 83
    Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                            Main Document Page 75 of 83

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                       18541 Valley Drive
                       Villa Park, CA 92861


                       Maria Munoz
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                       Villa Park, CA 92861


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                       ADT Security Services
                       c/o Transworld Systems, Inc.
                       500 Virginia Drive, # 514
                       Fort Washington, PA 19034


                       American Express
                       P.O. Box 53860 M/C 24-02-19
                       Anaheim, CA 92801


                       Anaheim Public Utilities
                       P.O. Box 3222
                       Anaheim, CA 92803-3222


                       Anda Inc.
                       2915 Weston Road
                       Fort Launderdale, FL 33331


                       AT&T
                       P.O. Box 5014
                       Carol Stream, IL 60197
Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 76 of 83


                   Atradius Managing Risk
                   1200 Arlington Heights Ave.
                   Baltimore, MD 21202


                   Bank Of America
                   Merchant Services
                   4000 Coral Ridge Drive
                   Coral Springs, FL 33065


                   Blue Shield and Kaiser
                   P.O. Box
                   Lodi, CA 95241-1912


                   Calif. State Board of Equalization
                   P.O. Box 942879
                   Sacramento, CA 94279-7070


                   Calwest Properties
                   1700 Adams Ave., Ste 203
                   Costa Mesa, CA 92626


                   Capital One
                   P.O. Box 60599
                   City Of Industry, CA 91716


                   Car Max Auto Finance
                   1930 Olney Avenue
                   Cherry Hill, NJ 08003


                   CarMax
                   P.O. Box 440609
                   Kennesaw, GA 30160
Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 77 of 83


                   CBeyond
                   File 50328
                   Los Angeles, CA 90074


                   Chex Systems
                   7805 Hudson Road
                   Suite 100
                   Saint Paul, MN 55126


                   Citi Mortgage
                   P.O. Box 6243
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                   City Of Anaheim
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                   County of Orange
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                   P.O. Box 4515
                   Santa Ana, CA 92702-4515


                   CTM Accountancy Corporation
                   5757 West Century Blvd., Ste. 620
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                   1401 Dove Street, Ste. 340
                   Newport Beach, CA 92708-2632


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Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 78 of 83


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                   Delta Billing Solutions
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                   Financial Management Service
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                   Birmingham, AL 35283-0794


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                   EDD
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                   Sacramento, CA 94280-0001


                   Electro Medical Instrumentation Cor
                   8475 Artesia Blvd., #104
                   Buena Park, CA 90621


                   Equifax
                   PO Box 740241
                   Atlanta, GA 30374


                   Experian
                   Consumer Relations
                   PO Box 2002
                   Allen, TX 75013
Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 79 of 83


                   Formshotline Healthcare
                   1493 N. Montebello Blvd., Ste. 202
                   Montebello, CA 90640


                   Franchise Tax Board Chief Counsel
                   c/o General Counsel Section
                   P.O. Box 1720, MS A-260
                   Rancho Cordova, CA 95741-1720


                   Great Lakes Edu Loan Serv.
                   PO BOX 530229
                   Atlanta, GA


                   Henry Schein
                   135 Duryea Road
                   Melville, NY 11747


                   Internal Revenue Service
                   Bankruptcies
                   P.O. Box 7346
                   Philadelphia, PA 19101-7346


                   Internal Revenue Service
                   Ms. Van Winkle
                   801 Civic Center Drive W.
                   Santa Ana, CA 92701-4048


                   Internal Revenue Service
                   ACS Support - Stop 813G
                   P.O. Box 145566
                   Cincinnati, OH 45250-5566


                   Kaiser Permanente
                   PO Box 629024
                   El Dorado Hills, CA 95762
Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 80 of 83


                   Martin Luther Med. Cntr. Assoc.
                   c/o CalWest Properties
                   1700 Adams Avenue, Suite 203
                   Costa Mesa, CA 92626-4865


                   Mckesson Medical Surgical, Inc



                   MedVenue Solutions
                   1601 Pacific Coast Hwy.
                   # 290
                   Hermosa Beach, CA 90254


                   Mini



                   Mitchell B. Ludwig
                   Knapp, Petersen & Clarke
                   550 N. Brand Blvd., Ste. 1500
                   Glendale, CA 91203-1948


                   Novartis
                   4560 Horton Street
                   Emeryville, CA 94608


                   Optum
                   P.O. Box 88050
                   Chicago, IL 60680-1050


                   Opus Bank
                   200 Commonwealth Avenue
                   Fullerton, CA 92832
Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 81 of 83


                   Orange County Tax Collecter
                   625 N. Ross St, Bldg. 11, Rm. G58
                   Santa Ana, CA 92702-1438


                   Orange County Treasurer
                   P.O. Box 1438
                   625 N. Ross St, Bldg 1, Rm G58
                   Santa Ana, CA 92702


                   Passco Diversified Fund TVO LLC



                   Patricia A. Hayes
                   Hollinslaw Attorneys Century Centre
                   2501 Main Street, Pent. Ste. 1300
                   Irvine, CA 92614-4239


                   Practrx
                   A Division Of Anda Inc.
                   2915 Weston Road
                   Weston, FL 33331


                   Precious Formals
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                   League, TX 77574


                   Quill
                   P.O. Box 37600
                   Philadelphia, PA 19101


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                   Newport Beach, CA 92660
Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 82 of 83


                   Robert Hooks



                   Sanofi Pasteur Inc.



                   Santander Consumer
                   P.O. Box 96145
                   Fort Worth, TX 76161


                   Smart Practice
                   P.O. Box 29222
                   Phoenix, AZ 85038


                   State Farm Payment Plan
                   P.O. Box 2329
                   Bloomington, IL 61702-2329


                   State Of Calif Labor Commisioner
                   645 W. Santa Ana Blvd.,
                   Rm 625 Bldg 28
                   Santa Ana, CA 92701


                   The Computer Guys
                   1818 West Chapman Avenue, # D
                   Orange, CA 92868


                   Transunion
                   P.O. Box 2000
                   Crum Lynne, PA 19022-0200
Case 8:18-bk-14112-ES   Doc 1 Filed 11/08/18 Entered 11/08/18 14:49:32   Desc
                        Main Document Page 83 of 83


                   TV Guide
                   P.O. Box 37360
                   Boone, IA 50099


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                   PO Box 530229
                   Atlanta,, GA 30353-0229


                   US Dept. of Education
                   Loyola Marymount
                   P.O. Box 7850
                   Madison, WI 53707


                   Valley Park Disposal #676
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                   Phoenix, AZ 85082


                   Verizon Wireless
                   P.O. Box 4003
                   Acworth, GA 30101


                   Wells Fargo
                   P.O. Box 30086
                   Los Angeles, CA 90030


                   Wells Fargo Bank NA
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                   MAC 4101-08C
                   Phoenix, AZ 85038-8650
